Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4608 Page 1 of 6
Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4609 Page 2 of 6
Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4610 Page 3 of 6
Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4611 Page 4 of 6
Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4612 Page 5 of 6
Case 2:05-cr-00126-RHW   ECF No. 894   filed 06/06/06   PageID.4613 Page 6 of 6
